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                    Exhibit 23
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          T.D. Jakes Disparaged in False and
          Unfounded Rumors Alongside 'Diddy' Sex-
          Abuse Allegations
          TikTok and YouTube users promoted evidence-free rumors about Jakes.
          Some of those users' videos were at least partially created with AI.


          By        Jordan Liles                                                                      Published May 14, 2024




      Image courtesy of Getty Images




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      Beginning in April 2024, online users promoted a rumor in videos on TikTok
      and YouTube claiming Bishop T.D. Jakes, 66, resigned from his senior pastor
      role at The Potter's House megachurch in Dallas. According to the
      videos, Jakes' purported resignation related to sex-abuse allegations against
      rapper Sean "Diddy" Combs.

      However, Jakes did not step down from his church. The users who created,
      commented on and shared videos about this rumor promoted misinformation.
      Jakes participated in Sunday services at The Potter's House Church as
      recently as May 12 — weeks after the resignation rumor began circulating —
      according to footage of the services available on the church's website and
      YouTube channel.

      This false rumor was simply the latest chapter in a months-old series of
      videos — many at least partially created with the assistance of artificial-
      intelligence tools — promoting unfounded rumors claiming Combs hosted
      "sex parties" in which Jakes participated.

      Snopes contacted The Potter's House by email to ask about the rumors. A
      spokesperson for Jakes directed us to past statements explaining the various
      facets of these false and unfounded rumors.


      Rumors About Jakes and Combs




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      On March 25, 2024, The Associated Press reported federal Homeland
      Security Investigations agents and other law-enforcement officers had, hours
      earlier, searched Combs' properties in Los Angeles and Miami as part of an
      ongoing federal sex-trafficking investigation conducted from New York.
      Authorities have not charged Combs in this matter. According to The New
      York Times, Combs also faces several civil sexual assault lawsuits from four
      women accusing him of rape and a man accusing him of unwanted sexual
      contact.

      In a statement posted to Instagram in December 2023, Combs responded to
      what he called "sickening allegations" against him and said, "Let me be
      absolutely clear: I did not do any of the awful things being alleged. I will fight
      for my name, my family and for the truth."

      TikTok and YouTube users have mentioned Jakes' name in various unfounded
      rumors alongside Combs' allegations, all based on three pieces of
      information: Jakes' appearance in a video at one of Combs' birthday parties,
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      an evidence-free report originating from a TikTok user about Jakes' purported
      participation in "sex parties" hosted by Combs, and a passing mention of
      Jakes' name in a lawsuit involving Combs.


      Jakes' Appearance at Combs' Birthday Party

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      The first piece of information regarding the unfounded rumors about Jakes
      regards his appearance in a video purportedly recorded at Combs' 53rd
      birthday party in November 2022. The video simply shows Jakes in an
      outdoor setting during the daytime singing "Happy Birthday" into a camera
      operated by an unidentified person.

      A second video shared with these same rumors shows Jakes and Combs
      posing together at an unknown event, also in an outdoor setting during the
      daytime.

      Derrick Williams, executive vice president of T.D. Jakes Entertainment, told
      The Christian Post in December 2023 Jakes made "a quick appearance" at
      Combs' party because he "was in LA for important business meetings" and

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      wanted to drop by out of "respect" for the fact Jakes' sermons aired on the
      Revolt TV network, which Combs co-founded. This context regarding Jakes'
      relationship with Revolt TV was missing from videos promoting the unfounded
      rumors.


      TikTok User Promotes 'Sex Parties' Rumor

      The second piece of information regarding the unfounded rumors concerned
      an evidence-free claim by a TikTok user who said Jakes participated in
      alleged "sex parties" hosted by Combs. The Christian Post's article called the
      claim an "unverified report." Further, the TikTok user used the words "alleged"
      and "allegedly" multiple times and ended the clip with the words "if this is
      true."

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      According to The Christian Post, Jakes appeared to respond to the claims
      during a Christmas Eve service at his church. "I'm not going to let the rain
      stop me. I'm not going to let the weather stop me. And I'm sure not going to let
      the liars stop me," Jakes said.


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      Jordan A. Hora, a spokesperson for T.D. Jakes Group and T.D. Jakes
      Ministries, also told The Christian Post of the rumor, "Recent claims circulating
      on pockets of social media about Bishop T.D. Jakes are unequivocally false
      and baseless."

      Hora added, "What has always been true, in the words of the late Pastor
      Charles H. Spurgeon, 'If you want the truth to go round the world you must
      hire an express train to pull it; but if you want a lie to go round the world it will
      fly; it is as light as a feather, and a breath will carry it.'"


      Jakes' Name Mentioned in 'Diddy' Lawsuit?

      The third piece of information about the unfounded rumors involves a mention
      of Jakes' name in a lawsuit against Combs. For example, on March 27, 2024,
      Christian media outlet The Roys Report published the headline, "Bishop T.D.
      Jakes Mentioned in Lawsuit Against Sean 'Diddy' Combs."

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      However, the February 2024 complaint against Combs mentions Jakes'
      name only once, and only in passing. The lawsuit did not name Jakes as a

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      defendant — a fact the Austin-American Statesman added alongside an
      editor's note in an update to their reporting.

      The mention of Jakes' name in the complaint reads, "Mr. Combs detailing how
      he planned to leverage his relationship with Bishop T.D. Jakes to soften the
      impact on his public image" regarding R&B singer Casandra "Cassie"
      Ventura's lawsuit against Combs. In other words, the complaint mentions
      nothing negative about Jakes. The article from The Roys Report reveals this
      context.


      AI-Created Videos Promote Rumors About
      Jakes

      We found no shortage of videos promoting the false and unfounded rumors
      about Jakes and Combs. To keep things brief, we'll concentrate on a small
      sampling of videos falsely claiming Jakes stepped down from his ministry.
      Again, Jakes has continually participated in services at his church in the
      weeks following the release of these misleading videos.

      On April 17, 2024, a user managing the Glamourly YouTube channel
      (@glamourly7) posted a new video with the title, "BREAKING: TD Jakes
      Stepped Down as Pastor After Being Mentioned in Diddy's Lawsuit." The
      video featured a thumbnail image falsely claiming a news anchor broadcast
      the supposed development for an unnamed TV outlet. The video's narration,
      script and editing all appeared to have been created by AI tools. The video
      received more than 843,000 views.

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      On April 21, TikTok user Kavell Kavon (@kavellkavon) posted a video saying,
      "Due to the allegations toward 'Diddy,' we're hearing that T.D. Jakes has now
      stepped down as a minister." The video received more than 809,000 views.

      On April 25 and 30, the Celeb Lounge YouTube channel — which has
      347,000 subscribers — published two videos that have received around
      250,000 total views. The videos feature fake, likely AI-created thumbnail
      images, with one showing Jakes and Combs both shirtless and holding
      hands. The narrator's voice in the video also sounded like the creation of an
      AI tool.

      Additionally, the users managing the YouTube channels Celebrity
      Glance, Celeb Breaker and Celeb Insights published videos in early May
      promoting the same false rumor about Jakes' resignation. All three videos
      featured misleading thumbnail images. For example, the thumbnail image for
      the Celebrity Glance YouTube video falsely claimed Jakes said, "I took
      advantage of young boys." Some TikTok users also reposted some of these
      videos on their channels.


      Additional Notes

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      Jakes founded The Potter's House in 1996. According to the church's
      website, 30,000 members have participated in services since then. Other
      than its campus in Dallas, the church features two additional Texas locations
      in Fort Worth and Frisco, as well as one campus in Los Angeles.

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      For further reading, NBC News published a story on Jan. 30, 2024, about AI-
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         By Jordan Liles


      Jordan Liles is a Senior Reporter who has been with Snopes since 2016.



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